       Case 2:12-cr-00013-CKD Document 40 Filed 07/05/12 Page 1 of 2


     JENNIFER C. NOBLE, ESQ., CSBN 256952
1    WISEMAN LAW GROUP, P.C.
       1477 Drew Avenue, Suite 106
2      Davis, California 95618
       Telephone: 530.759.0700
3      Facsimile: 530.759.0800
4    Attorney for Defendant
       RODNEY TAYLOR
5

6

7
                               IN THE UNITED STATES DISTRICT COURT
8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9
                                          SACRAMENTO DIVISION
10

11

12                                                  ) Case No. 2:12-CR-00013-CKD
     UNITED STATES OF AMERICA,                      )
13                                                  )
                                                    ) DEFENDANT TAYLOR’S EX PARTE
14                                                  ) APPLICATION FOR TRAVEL
                                  Plaintiff,        ) EXPENSES AND PROPOSED ORDER
15                                                  )
            v.                                      ) Date: July 9, 2012
16                                                  ) Time: 1:30 p.m.
     RODNEY TAYLOR,                                 ) Crtm: 26
17                                                  )
                                                    )
18                                Defendant.        )
                                                    )
19

20                                             INTRODUCTION
21           Defendant Rodney Taylor hereby requests the Court authorize travel expenses to
22   and from court for the duration of his trial, pursuant to 18 U.S.C. § 4285. Mr. Taylor is
23   unable to afford his own transportation costs from his temporary residence to the trial.
24   The trial is set to begin on July 9, 2012 and is expected to last five (5) days.
25           Under § 4285, the Court may, after determining that “the defendant is financially
26   unable to provide the necessary transportation to appear before the required court on
27   his own, direct the United States marshal to arrange for that person’s means of non-
28   custodial transportation or furnish the fare for such transportation to the place where



     Defendant’s Application for                                             Case no. 12-CR-00013 CKD
     Travel Expenses and Proposed Order
       Case 2:12-cr-00013-CKD Document 40 Filed 07/05/12 Page 2 of 2



1    his appearance is required, and in addition may direct the United States Marshal to
2    furnish that person with an amount of money for subsistence expenses to his
3    destination, not to exceed the amount authorized as a per diem allowance for travel
4    under § 5702(a) of title 5, Untied States Code.” 18 U.S.C. § 4285.
5            Mr. Taylor estimates that the travel expense will be $60.00 per day for the 5
6    court days. Mr. Taylor will be staying with his brother in South Sacramento for the
7    duration of the trial, however has no transportation and will, therefore, need taxi fare to
8    and from court each day of trial. This arrangement is more cost effective than providing
9    hotel accommodations for Mr. Taylor at a hotel within walking distance of the
10   courthouse.
11
     Dated: July 2 2012                        Respectfully submitted,
12
                                               By: /s/ Jennifer C. Noble
13                                                 JENNIFER C. NOBLE, ESQ.
                                                   Attorney for Defendant
14
                                                   RODNEY TAYLOR
15

16                                            ORDER
17
             TO: UNITED STATES MARSHAL SERVICE, SACRAMENTO, CALIFORNIA:
18

19
             GOOD CAUSE APPEARING, it is hereby ordered that the UNITED STATES

20
     MARSHAL SERVICE is authorized and directed to furnish the above named defendant,

21
     RODNEY TAYLOR, with transportation expenses in the amount of $60.00 per day for

22
     the duration of his trial beginning on July 9, 2012. Mr. Taylor is unable to afford his

23
     own transportation.
             Furthermore, Mr. Taylor is ordered to appear before this court on July 9, 2012, at
24
     1:30 p.m.
25

26
     Dated: July 5, 2012
27                                                ___________________________
                                                  CAROLYN K. DELANEY
28                                                UNITED STATES MAGISTRATE JUDGE



     Defendant’s Application for                                          Case no. 12-CR-00013 CKD
     Travel Expenses and Proposed Order
